Case 1:21-cr-20119-BB Document 14 Entered on FLSD Docket 04/26/2021 Page 1 of 7




                           U M TED STA TE S D ISTRIC T C O UR T
                           SO U TH ERN DISTR IC T O F FLO R IDA

                              CA SE N O .21-20119-CR -BLO OM

 UN ITED STA TES O F AM ER ICA

VS.

 LO R ENA R ESTREPO O R TIZ M O LINA ,

                             D efendant.
                                           /

                                    PLEA A G R EEM EN T

        TheUrlitedStatesAttorney'sOflicefortheSouthernDistiictofFlorida(tGthisOffice''land
 (hereinafterreferredtoastheGldefendanf')enterintothefollowingagreement:
            The defendantagreesto plead guilty to CountThree ofthe indictment,which cotmt

 chargesthedefendantwith unlawfulnamralizàtion,in violation ofTitle 18,United StatesCode,
                                  -M
 Section 1425(a).                      '
        2. TMs Office agrees to seek dism issalof cotmts One and Two ofthe indictmentat

 sentencing.

        3. Thedefendantisawarethatthesentencewillbeim posedbytheCourtafterconsidering

 the advisory Federal Sentencing Guidelines and Policy Statements (hereinafter ûçsentencing
 Guidelines'). The defendantacknowledges and tmderstandsthatthe Courtwillcompute an
 advisory sentence tmder the Sentencing Guidelines and that the applicable guidelines willbe

 determinedby theCourtrelyinginpartontheresultsofapre-sentenceinvestigation bytheCourt's

 probation ofûce,wllich investigation willcom mence afterthe guilty pleahasbeen entered. The

 defendantisalso aw arethat,tm dercertain circum stmw es,the Cotlrtm ay departfrom the advisory

 sentencing guideline rangethatithas computed,and may raise orlowerthatadvisory sentence
Case 1:21-cr-20119-BB Document 14 Entered on FLSD Docket 04/26/2021 Page 2 of 7



                                               2
    underthe Sentencing Guidelines. The defendantis further aw are and understands thatthe Court

    isrequired to considerthe advisory ggideline range detennined tmderthe Sentencing Guidelines,

    butisnotbotmd to imposea srntencewithin thatadvisory range;theCourtispermitted to tailor

    the ultim ate sentence in lightofotherstatutory concem s,and such sentence m ay be eithermore

    severe orlesssevere than the Sentencing Guidelines'advisory range. Knowing thesefacts,the

    defendanttmderstandsand acknowledgesthatthe Cotlrthasthe authority to impose any sentence
                '
        o
    w ithln and up to the statutory m axim llm authorized by law forthe offense identified in paragraph

    1and thatthedefendantm ay notwithdraw thepleasolely asaresultofthesentenceim'
                                                                                posed.

                Thedefendantalso tmderstandsand aclcnowledgesthatthe CourtDiay W POSW a G                 ''
    statutory m aximllm term ofimprisonmentofup to fiveyears,followed by a term ofsupervised

    releaseofuptotl
                  zreeyears..                CK.
                                               -6              (J
                                                                      lISttnLv,gef-oe -Lel'
                                                                                          fL)SC35N1.
            5. The defendantfurthertmderstandsand acknowledgesthat,in addition to any senteùce

    im posed tm der paragraph 4 of this agreem ent, a special assessm ent in the am ount of

.   $100.00 willbe imposed on the defendant. The defendantagrees that any specialassessment
    im posed shallbepaid atthetim e ofsentencing. Ifa defendantissnancially unableto pay the

    special assessm ent,the defendant agrees to presentevidence to this O ffice and the Courtat the

    tim e ofsentencing asto the reasons forthe defendant'sfailure to pay.

               TllisOfficereservestherightto infonn theCourtand theprobation officeofa11facts

    pertinent to the sentencing process,including a11relevant inform ation concerning the offenses

    com mitted,whether charged or not,as wellas concerning the defendant and the défendant's

    background. Subjectonlytotheexpresstermsofany agreed-upon sentencingrecommendations
Case 1:21-cr-20119-BB Document 14 Entered on FLSD Docket 04/26/2021 Page 3 of 7




                                                 3
 contained in thisagreem ent,this Office furtherreservesthe rightto m ake arly recom m endation as

 tothequality and quantity ofptm ishm ent.
                            .




        7.      This Office agreesthatitwillrecommend atsentencing thatthe Courtreduce by

 two levelsthesentencing guidelinelevelapplicabletothedefendant'soffense,ptlrsuantto Section

 3E1.1(a)ofthe Sentencing Guidelines,based upon thedefendant'srecognition and affirmative
 and timely acceptance ofpersonalresponsibility.lf atthe time of sentencing the defendant's

 offense levelis determined to be 16 or greater,this Office will tile a m otion requesting an

 additionaloneleveldecreasepursuantto Section 3E1.1(b)oftheSentencing Guidelines,stathv
 thatthe defendanthas assisted authorities in the investigation orprosecution ofthe defendant's

 oWn m isconductby tim ely notifying authorities ofthe defendant's intention to entera plea of
 guilty, thereby permitting the governm ent to avoid prepming for trial and perm itting the

 governm entand the Courtto allocatetheirresotlrcesefficiently. ThisOftk e,however,willnot

 berequiredtomakethismotion ifthedefendant:(1)failsorrefusestomakea111,acctlrateand
 com plete disclosttre to the probation office ofthe circllm stances surrotm ding the relevant offense

 conduct;(2)isfotmdtohavemisrepresentedfactstothegovernmentpriortoenteringintothisplea
 agreement;or(3)commitsany misconductafterenteringintothispleaagreement,includingbut
 notlim ited to com mitting astateorfederaloffense,violating any tenn ofrelease,ormaking false

 statem entsormisrepresentationsto any govem m entalentity orofficial.

        8.      The defendant further tmderstands and acknowledges that, in addition to any

 sentenceimposedtmderparagraph4,pursuantto8USC Section1451(e),andptzrsuanttotlzisplea
 agreem ent,this O ftk e w illask the Cotlt'tto enteran order revoldng,setting aside,and declaring
Case 1:21-cr-20119-BB Document 14 Entered on FLSD Docket 04/26/2021 Page 4 of 7




'
                                               4
    void the defendant's United States citizenship and cancel the defendant's certificate of

    naturalization.

           9.     Thepartiesagreetojointly recommend thatthe Cotut ptlrsuantto 18 U.S.C.j
    3553(a),shouldimposeasentencethatisbélowtheabvisoryguidelinerangeduetothedefendant's
    cooperation with tlzisprosecution,aswellasherrecentcofnpletion ofa separateprison term .

           10.    ThisOffice agrees thatthe Urlited States willrecom m end thatthe defendantbe

    sentencedtoservenojailtimeinthiscase.
           11.    In theeventthe Courtistmwilfing to accepttheparties'agreement,theUzlited
    States agreesto recomm end thatthe Courtsentence the defendantto sel've the low end ofthe

    sentencing guidelines.

           12.    Ptlrsuantto thisplea agreement,the United States agrees to recomm end thatthe

    tezm of supervised release the Courtorders the defendantto complete in this case be served

    concurrentwiththeDefendant'spreviously orderedterm ofsuperdsedrelease,in casemlmber19-

    cr-20346-G ay1es.

           13.    The parties also agree thatthe defendantw illsurrender and relinquish her United

    Statescitizensllip,pursuantto8USC Section 1451(e).
           14.    The defendantisawarethatthe sentencehasnotyetbeen determ inedby the Court.

    The defendantalso isaw are thatany estim ateoftheprobable sentencing range orsentencethatthe

    defendantm ayreceive,whetherthatestim ate com es9om thedefendant'sattorney,thisOffice,or
                                         .




    the probation oftk e,isa prediction,nota prom ise,and is notbinding on this Office,theprobation

    oftk eortheCourt. The defendantunderstandsfurtherthatany recomm endation thattllisOffke

    m akestothe Courtasto sentencing,w hetherpursuantto thisagreem entorotherwise,isnètbinding
Case 1:21-cr-20119-BB Document 14 Entered on FLSD Docket 04/26/2021 Page 5 of 7




                                            5.
 on the Courtand the Courtm ay disregard the recom mendation in its entirety. The defendant

 tm derstands and ackhow ledges, as previously acknow ledged in paragraph 3 above, that the

 defendant m ay not withdraw his/her plea based upon the Court's decision not to accept a

 sentencing recom mendation m ade by the defendant,thisOffice,or a recomm endation made

jointlybythedefendantandtllisOffice.
        15.    Defendantrecogrlizesthatpleading gtlilty willhave consequenceswith respectto

 the defendant's im migration status,being thatthe defendantis nota natm al-born citizen ofthe

 Unhed States. Underfederallaw,abroad rangeofcrimesarerem ovableoffenses,including the

 offense to which defendant is pleading guilty. ln addition,the defendant understands that

 denaturalization is a consequence ofpleading guilty to the charged offense,pm suantto 8 USC

 Section 1451(e). Removal,denaturalization,andotherimmigrationconsequencesarethesubject
 of a separate proceeding, however, and defendant understands that no one, including the

 defendant'sattorney ortheCourt,can predicttoacertaintytheeffectofthedefendant'sconviction

 on thedefendant'simm igration status. Defendantnekerthelessaffinnsthatthedefendantwishes

 to plead guilty regrdlessofany immigration consequencesthatthedefendant'spleap ay entail,

 even ifthe consequence isthe defendant'sautom atic rem ovalfrom the U nited States.

        16.    The defendantis aware thatTitle 18,United States Code,Section 3742 and Title

 28,UnhedStatesCode,Section 1291affordthedefendanttherighttoappealthesentenceimposed

 in thiscase. Acknowledging this,in exchmv efortheundertakingsmadeby theUnited Statesin

 this plea agreem ent,the defendanthereby w aives a1lrights confen'ed by Sections 3742 and 1291

 to appealany sentenceimposed,including any restimtion order,orto appealthem annerin which

 thesentencewasimp/sed,llnlessthesentenceexceedsthem axim llm perm itted by statuteoristhe
Case 1:21-cr-20119-BB Document 14 Entered on FLSD Docket 04/26/2021 Page 6 of 7



                                            6
 resultofatlupward departure and/oran upward vadance from the advisory guideline range that

 the Court establishes at sentencing. The defendant further tm derstands that nothing in this

 agreementshallaffectthegovernm ent'srightand/orduty to appealassetforth in Title 18,Uzlited

 StatesCode,Section 374209 and Title28,United StatesCode,Section 1291. However,ifthe
 United States appeals the defqndant's sentence pursuantto Sections 3742(19 and 1291,the
 defendantshallbereleased âom theabovewaiverofappellaterights.




                             (m TENTIONALLY LEFT BLAM Q
%   Case 1:21-cr-20119-BB Document 14 Entered on FLSD Docket 04/26/2021 Page 7 of 7




                                              7
    By signingthisagreement,thedefendantacknowledgesthatthedefendanthasdiscussedtheappeal

    waiversetforth in tltis agreem entwith the defendant's attorney. The defendantfartheragrees,

    together with this Oftk e,to requestthatthe Courtenter a specific snding thatthe defendant's

    waiverofhisrightto appealthesentenceim posed in thiscasewasknowing andvolunto .

                Thisistheentireagreem entand lmderstandingbetweenthisOfticrandthedefendant.
     There areno othera
                      'greem ents,prom ises,representations,ortmderstandings.


                                              JUAN AN TOM O GO N ZA LEZ
                                              ACTING UNITED STATES ATTORNEY

     Date: 1-l2.
               ctaq
                q
                                       By:.
                                                          .   ILA N CE
                                              A SSISTA N T LPdTED STA TES A TTORN EY


     oate.ytaoloa-y.ï                  By:
                                              STEPHEN QOLEM
                                                                                      ,

                                              AT O RN EY FoR D EFEN D AN T


     Date:qspal'
               aowl                    By: '            i        Ccv > ,
                                              LOREN A RESTREPO ORTIZ M OLINA
                                              DEFEN D AN T
